Case 1:14-ml-02570-RLY-TAB Document 10126-1 Filed 02/08/19 Page 1 of 2 PageID #:
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Case 1:14-ml-02570-RLY-TAB Document 10126-1 Filed 02/08/19 Page 2 of 2 PageID #:
                                   68499

  From:           Marco Campbell
  To:             "cookfiltermdl@faegrebd.com"; "plaintiffscoleadcounselmdl@gmail.com"
  Cc:             Asim Badaruzzaman; Rick Barreca; Humaira Safdar; Payal Amin
  Subject:        In Re: COOK MEDICAL, INC., IVC FILTERS MARKETING; MDL No. 2570; CATEGORIZATION FORMS
  Date:           Tuesday, January 8, 2019 5:51:00 PM
  Attachments:    Ardey, Joyce.zip
                  Barnes, Steven.zip
                  Bush, Lisa.zip
                  Clemmerson, Peter.zip
                  Gunderson, Freedom.zip
                  Judd, Nicole.zip
                  Miller, James.zip
                  Norris, Kiarra.zip
                  Prim, Shearickel.zip
                  Romero, Beverly.zip
                  Super, Suzanne.zip
                  Timms, David.zip
                  Wiggins, Shawn.zip
                  Williams, Tamara.zip
                  Zeigler, Dennis.zip


  Good evening,

  Attached please see the Categorization Forms for the above mentioned matter as instructed by the
  CMO.

  Thank you

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   Paralegal
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